

People v Rucker (2024 NY Slip Op 00052)





People v Rucker


2024 NY Slip Op 00052


Decided on January 09, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 09, 2024

Before: Webber, J.P., Gesmer, Kennedy, Rosado, Michael, JJ. 


SCI No. 2673/17 Appeal No. 1377 Case No. 2019-3010 

[*1]The People of the State of New York, Respondent,
vBenjamin Rucker, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Stephen Nemec of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Rafael Curbelo of counsel), for respondent.



Judgment, Supreme Court, Bronx County (David Kirschner, J., at plea; Bahaati E. Pitt, J., at sentencing), rendered February 1, 2018, convicting defendant of possession of a stolen vehicle (Vehicle and Traffic Law § 426), and sentencing him to a term of six months, unanimously modified, on the law, to the extent of reducing the mandatory surcharge and crime victim assistance fee imposed at sentencing to $55 and $5, respectively, and otherwise affirmed.
Defendant made a valid waiver of his right to appeal, and we reject his challenges to the validity of the waiver (see People v Thomas, 34 NY3d 545, 564 [2019], cert denied 589 US &amp;mdash, 140 S Ct 2634 [2020]).
However, as conceded by the People, the court imposed the surcharge and fees set forth in the Penal Law instead of those applicable to defendant's Vehicle and Traffic Law conviction. Accordingly, we modify the mandatory surcharge and crime victim assistance fee imposed at sentencing (see People v Cutts, 209 AD3d 474 [1st Dept 2022], lv denied 39 NY3d 961 [2022]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 9, 2024








